 Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 1 of 15 PageID 1




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA

                                      :
Carlos Dias, on behalf of himself and : Civil Action No.:
others similarly situated,            :
                                      :
                     Plaintiff,       : COMPLAINT--CLASS ACTION
                                      :
       v.                             :
                                      : DEMAND FOR A JURY TRIAL
Enhanced Recovery Company LLC, dba :
Enhanced Resource Centers, dba ERC, :
                                      :
                     Defendant.       :
                                      :

                               Nature of Action

      1.    Carlos Dias (“Plaintiff”) brings this class action under the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., for the benefit of

Florida consumers whose private, consumer debt-related information Enhanced

Recovery Company LLC, dba Enhanced Resource Centers, dba ERC (“Defendant”)

disclosed to an unauthorized third party, in connection with the collection of

consumer debts.

      2.    Congress enacted the FDCPA in 1977 to “eliminate abusive debt

collection practices by debt collectors, to insure that those debt collectors who

refrain from using abusive debt collection practices are not competitively

disadvantaged,” 15 U.S.C. § 1692(e), and in response to “abundant evidence of the
    Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 2 of 15 PageID 2




use of abusive, deceptive, and unfair debt collection practices by many debt

collectors,” which Congress found to have contributed “to the number of personal

bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual

privacy.” Id., § 1692(a).

        3.    As the Consumer Financial Protection Bureau (“CFPB”)—the federal

agency tasked with enforcing the FDCPA—explained, “[h]armful debt collection

practices remain a significant concern today. In fact, the CFPB receives more

consumer complaints about debt collection practices than about any other issue.”1

        4.    Pertinent here, section 1692c(b) of the FDCPA, titled “Communication

with third parties,” states:

        Except as provided in section 1692b of this title, without the prior
        consent of the consumer given directly to the debt collector, or the
        express permission of a court of competent jurisdiction, or as
        reasonably necessary to effectuate a postjudgment judicial remedy, a
        debt collector may not communicate, in connection with the collection
        of any debt, with any person other than the consumer, his attorney, a
        consumer reporting agency if otherwise permitted by law, the creditor,
        the attorney of the creditor, or the attorney of the debt collector.

15 U.S.C. § 1692c(b) (emphasis added).

        5.    The provision that section 1692c(b) cross-references—section 1692b—

governs the manner in which a debt collector may communicate “with any person



1
        See Brief for the CFPB as Amicus Curiae, ECF No. 14, p. 10, Hernandez v. Williams,
Zinman,     &     Parham,     P.C.,  No.     14-15672     (9th    Cir.  Aug.    20,  2014),
http://www.ftc.gov/system/files/documents/amicus_briefs/hernandez-v.williams-zinman-
parham-p.c./140821briefhernandez1.pdf (last visited May 3, 2021).

                                            2
    Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 3 of 15 PageID 3




other than the consumer for the purpose of acquiring location information.” 15

U.S.C. § 1692b.

        6.    Thus, the FDCPA broadly prohibits a debt collector from

communicating with anyone other than the consumer “in connection with the

collection of any debt,” subject to several carefully crafted exceptions—some

enumerated in section 1692c(b), and others in section 1692b.

        7.    Despite this prohibition—one designed to protect consumers’

privacy—debt collectors, including Defendant, often send information regarding

consumers’ alleged debts to third-party mail vendors.

        8.    Indeed, “over 85 percent of debt collectors surveyed by the [CFPB]

reported using letter vendors.”2

        9.    These third-party mail vendors use information provided by debt

collectors—such as a consumer’s name, the name of a creditor to whom a debt is

allegedly owed, the name of an original creditor, and the amount of an alleged debt—

to fashion, print, and mail debt collection letters to consumers.

        10.   This unnecessary practice exposes private information regarding

alleged debts to third parties not exempted by the FDCPA.




2
        See https://www.federalregister.gov/documents/2019/05/21/2019-09665/debt-collection-
practices-regulation-f#citation-749-p23396 at n. 749 (last visited May 3, 2021).

                                             3
 Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 4 of 15 PageID 4




      11.    Upon information and belief, Defendant routinely communicates with

and provides, in connection with the collection of consumer debts, protected

information regarding consumer debts to third-party mail vendors in violation of the

FDCPA.

      12.    Plaintiff therefore seeks relief for himself and on behalf of similarly

situated Florida consumers to whom Defendant sent debt collection letters that were

prepared, printed, or mailed by a third-party mail vendor.

                                       Parties

      13.    Plaintiff is a natural person who at all relevant times resided in

Seminole County, Florida.

      14.    Plaintiff is allegedly obligated to pay a debt owed or due, or asserted to

be owed or due, a creditor other than Defendant.

      15.    Plaintiff’s alleged obligation owed or due, or asserted to be owed or

due, arises from a transaction in which the money, property, insurance, or services

that are the subject of the transaction were incurred primarily for personal, family,

or household purposes—namely, personal wireless telephone service (the “Debt”).

      16.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

      17.    Defendant is an entity headquartered in Jacksonville, Florida.




                                          4
    Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 5 of 15 PageID 5




        18.   Defendant’s website includes the following notice: “ERC is a debt

collection agency. This is an attempt to collect a debt by a debt collector, and any

information obtained will be used for that purpose.”3

        19.   Defendant is an entity that at all relevant times was engaged, by use of

the mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. § 1692a(5).

        20.   Upon information and belief, at the time Defendant attempted to collect

the Debt from Plaintiff, the Debt was alleged to be in default, or Defendant treated

the Debt as if it were in default from the time that Defendant acquired it for

collection.

        21.   Defendant uses instrumentalities of interstate commerce or the mails in

a business the principal purpose of which is the collection of any debts, or to

regularly collect or attempt to collect, directly or indirectly, debts owed or due, or

asserted to be owed or due, another.

        22.   Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).




3
      See      https://ssp.ercbpo.com/Home/Index?_ga=2.2459827.2046783899.1619793630-
1015528074.1619793630 (last visited May 3, 2021).

                                          5
 Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 6 of 15 PageID 6




                                 Jurisdiction and Venue

       23.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.

       24.    Venue is proper before this Court under 28 U.S.C. § 1391(b) as

Defendant is headquartered in his district, a substantial part of the events giving rise

to Plaintiff’s claims occurred in this district, and as Defendant caused a debt

collection letter to be sent to Plaintiff in this district.

                                   Factual Allegations

       25.    On or about January 13, 2021, Defendant caused a written

communication to be sent to Plaintiff in connection with the collection of the Debt.

       26.    A true and correct copy of the January 13, 2021 communication to

Plaintiff is attached, in redacted form, as Exhibit A.

       27.    The January 13, 2021 letter discloses the amount of the Debt. See

Exhibit A.

       28.    The January 13, 2021 letter identifies the current creditor to whom the

Debt is allegedly owed. See id.

       29.    The January 13, 2021 letter identifies additional information regarding

the Debt, including the account and reference numbers, and a description of the Debt.

See id.




                                              6
    Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 7 of 15 PageID 7




         30.    The return address listed on the January 13, 2021 communication is

“P.O. Box 1259, Dept 98696, Oaks, PA 19456.” See id.

         31.    P.O. Box 1259, Dept 98696, Oaks, PA 19456 is an address associated

with RevSpring, Inc., a third-party mail vendor.

         32.    RevSpring maintains offices in Oaks, Pennsylvania at the same zip code

as the return address listed in the January 13, 2021 communication.

         33.    “RevSpring processes more than one billion communications

annually.”4

         34.    RevSpring markets itself as having “[s]tate-of-the-art address

processing and return mail services. . . .”5

         35.    RevSpring’s website notes that over 50% of accounts receivables

management organizations use RevSpring.6

         36.    RevSpring describes itself as follows:

         RevSpring is a high-growth technology services organization that
         provides intelligent communications and payment solutions to over
         2,000 of the leading accounts receivables management, credit grantors,
         healthcare providers, and healthcare technology companies throughout
         North America. Through its proprietary technology, analytics and
         workflow tools, RevSpring enables its customers to deliver over one
4
         https://revspringinc.com/healthcare/products/print-mail/production/ (last visited May 3,
2021).
5
         https://revspringinc.com/healthcare/products/print-mail/production/ (last visited May 3,
2021).
6
         https://revspringinc.com/financial-services/ (last visited May 3, 2021).



                                                  7
    Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 8 of 15 PageID 8




        billion personalized financial communications through print, email,
        SMS, voice and web channels. These communications facilitate
        accelerated payments through multiple channels, notably web and IVR,
        to drive valuable consumer/patient interactions. RevSpring’s strategy
        and payment technology significantly improves consumer satisfaction,
        responsiveness, self-service and cash collection rates to best-in-class
        levels.7

        37.     Defendant does not have a Pennsylvania address.8

        38.     Defendant did not print the January 13, 2021 communication.

        39.     Defendant did not mail the January 13, 2021 communication to

Plaintiff.

        40.     A third-party mail vendor printed the January 13, 2021 communication.

        41.     A third-party mail vendor mailed the January 13, 2021 communication

to Plaintiff.

        42.     That is, in connection with the collection of the Debt, Defendant

provided information regarding Plaintiff and the Debt, including Plaintiff’s name,

address, the amount of the Debt, and other private details regarding the Debt, to a

third-party mail vendor.

        43.     The third-party mail vendor then printed the January 13, 2021

communication and sent it to Plaintiff.



7
        https://www.creditandcollectionnews.com/viewer.php?url=
https://www.creditandcollectionnews.com/uploads/RevSpring%20Expands%20Administrative%
20and%20Technical%20Offices.htm/ (last visited May 3, 2021).
8
        See https://www.ercbpo.com/why-erc/ (last visited May 3, 2021).

                                               8
 Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 9 of 15 PageID 9




       44.   Plaintiff did not provide Defendant prior express consent to

communicate, in connection with the collection of the Debt, with RevSpring or any

third-party mail vendor.

       45.   Plaintiff did not provide Defendant prior express consent to share any

information about the Debt with RevSpring or any third-party mail vendor.

                             Class Action Allegations

       46.   Plaintiff brings this action as a class action pursuant to Federal Rules of

Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of:

       All persons (a) with a Florida address, (b) to which Enhanced Recovery
       Company LLC, dba Enhanced Resource Centers, dba ERC sent, or
       caused to be sent, a written debt collection communication, (c) in
       connection with the collection of a consumer debt, (d) in the one year
       preceding the date of this complaint through the date of class
       certification, (e) that was prepared or mailed by a third-party vendor.

       47.   Excluded from the class is Defendant, its officers and directors,

members of their immediate families and their legal representatives, heirs,

successors, or assigns, and any entity in which Defendant has or had controlling

interests.

       48.   The class satisfies Rule 23(a)(1) because, upon information and belief,

it is so numerous that joinder of all members is impracticable.

       49.   The exact number of class members is unknown to Plaintiff at this time

and can only be determined through appropriate discovery.




                                           9
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 10 of 15 PageID 10




       50.   The class is ascertainable because it is defined by reference to objective

criteria.

       51.   In addition, upon information and belief, the names and addresses of all

class members can be identified through business records maintained by Defendant.

       52.   The class satisfies Rules 23(a)(2) and (3) because Plaintiff’s claims are

typical of the claims of the class members.

       53.   To be sure, Plaintiff’s claims and those of the class members originate

from the same practice utilized by Defendant—the sending of personal, private

information regarding alleged consumer debts to a third-party mail vendor—and

Plaintiff thus possesses the same interests and has suffered the same injuries as each

class member.

       54.   Plaintiff satisfies Rule 23(a)(4) because he will fairly and adequately

protect the interests of the class members and has retained counsel experienced and

competent in class action litigation.

       55.   Plaintiff has no interests that are contrary to or in conflict with the class

members that he seeks to represent.

       56.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since, upon information and belief, joinder

of all the class members is impracticable.




                                           10
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 11 of 15 PageID 11




      57.      Furthermore, as the damages suffered by individual class members may

be relatively small, the expense and burden of individual litigation could make it

impracticable for the class members to individually redress the wrongs done to them.

      58.      There will be no unusual difficulty in the management of this action as

a class action.

      59.      Issues of law and fact common to the class members predominate over

any questions that may affect only individual class members, in that Defendant has

acted on grounds generally applicable to the class.

      60.      Among the issues of law and fact common to the class:

            a. Defendant’s violations of the FDCPA as Plaintiff alleges;

            b. whether Defendant is a debt collector as defined by the FDCPA;

            c. whether Defendant’s communications with third-party mail vendors in

               connection with the collection of consumer debts violate the FDCPA;

            d. the availability of declaratory relief;

            e. the availability of actual damages and statutory penalties; and

            f. the availability of attorneys’ fees and costs.

      61.      Absent a class action, Defendant’s violations of the law will be allowed

to proceed without a full, fair, judicially supervised remedy.




                                            11
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 12 of 15 PageID 12




   Count I: Violation of the Fair Debt Collection Practices Act, 15 U.S.C. §
                                   1692c(b)

      62.    Plaintiff repeats and re-alleges each and every factual allegation

contained in paragraphs 1 through 61 above.

      63.    Pertinent here, the FDCPA at 15 U.S.C. § 1692c(b) provides that “a

debt collector may not communicate, in connection with the collection of any debt,

with any person other than the consumer, his attorney, a consumer reporting agency

if otherwise permitted by law, the creditor, the attorney of the creditor, or the

attorney of the debt collector.”

      64.    By communicating regarding the Debt, including by disclosing, among

other things, the existence of the Debt, the amount owed, and the alleged creditor,

with a third-party mail vendor, Defendant violated 15 U.S.C. § 1692c(b). See

Hunstein v. Preferred Collection & Mgmt. Servs., Inc., --- F.3d ----, 2021 WL

1556069 (11th Cir. Apr. 21, 2021).

      65.    The harm Plaintiff suffered is particularized in that Defendant

communicated with a third-party vendor regarding his personal alleged Debt.

      66.    And the violation of Plaintiff’s right not to have his private information

shared with third parties is a concrete injury sufficient to confer standing.

      67.    To be sure, the harm Plaintiff alleges here—disclosure of private

information of a personal, sensitive nature to third-party vendors—is precisely the

type of abusive debt collection practice that the FDCPA was designed to prevent.

                                          12
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 13 of 15 PageID 13




      68.      Additionally, by communicating with a third party in connection with

the collection of the Debt, Defendant harmed Plaintiff by invading his privacy.

      69.      That is, by communicating with a third party in connection with the

collection of the Debt, Defendant harmed Plaintiff by disclosing private facts about

him and the Debt.

      WHEREFORE, Plaintiff respectfully requests relief and judgment as follows:

            A. Determining that this action is a proper class action under Rule 23 of

               the Federal Rules of Civil Procedure;

            B. Adjudging and declaring that Defendant violated 15 U.S.C. § 1692c(b);

            C. Awarding Plaintiff and the class members statutory damages pursuant

               to 15 U.S.C. § 1692k;

            D. Awarding the class members actual damages incurred, as applicable,

               pursuant to 15 U.S.C. § 1692k;

            E. Enjoining Defendant from future violations of 15 U.S.C. § 1692c(b)

               with respect to Plaintiff and the class;

            F. Awarding Plaintiff and the class members their reasonable costs and

               attorneys’ fees incurred in this action, including expert fees, pursuant

               to 15 U.S.C. § 1692k and Rule 23 of the Federal Rules of Civil

               Procedure;




                                            13
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 14 of 15 PageID 14




          G. Awarding Plaintiff and the class members any pre-judgment and post-

             judgment interest as may be allowed under the law; and

          H. Awarding other and further relief as the Court may deem just and

             proper.

                                    Jury Demand

      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

by jury of any and all triable issues.




                                         14
Case 3:21-cv-00484-TJC-PDB Document 1 Filed 05/04/21 Page 15 of 15 PageID 15




Dated: May 4, 2021                 Respectfully submitted,

                                   /s/ Aaron D. Radbil
                                   Aaron D. Radbil
                                   Florida Bar No. 047117
                                   Michael L. Greenwald
                                   Florida Bar No. 761761
                                   GREENWALD DAVIDSON RADBIL
                                   PLLC
                                   7601 N. Federal Hwy., Suite A-230
                                   Boca Raton, FL 33487
                                   Tel: (561) 826-5477
                                   aradbil@gdrlawfirm.com
                                   mgreenwald@gdrlawfirm.com

                                   Matthew Bavaro
                                   Florida Bar No. 175821
                                   Loan Lawyers
                                   3201 Griffin Road, Suite 100
                                   Ft. Lauderdale, FL 33312
                                   Tel: (954) 523-4357
                                   Matthew@Fight13.com

                                   Counsel for Plaintiff and the proposed class




                                    15
